289 F.2d 62
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.BUSINESS MACHINE &amp; OFFICE APPLIANCE MECHANICS CONFERENCE BOARD, LOCAL 459, INTERNATIONAL UNION OF ELECTRICAL, RADIO &amp; MACHINE WORKERS, AFL-CIO, Respondent.
    No. 322.
    Docket 26668.
    United States Court of Appeals Second Circuit.
    Argued April 13, 1961.
    Decided April 20, 1961.
    
      Melvin Pollack, Attorney, National Labor Relations Board, Washington, D. C. (Stuart Rothman, General Counsel, Dominick L. Manoli, Associate General Counsel, Marcel Mallet-Prevost, Asst. General Counsel, and A. Brummel, Attorney, National Labor Relations Board, Washington, D. C., on the brief), for petitioner.
      Irving Abramson, New York City (Everett E. Lewis and Abramson &amp; Lewis, New York City, on the brief), for respondent.
      Before CLARK, MEDINA and FRIENDLY, Circuit Judges.
      PER CURIAM.
    
    
      1
      The Board petitions for enforcement of its order, reported at 125 NLRB No. 7, finding that the respondent Union, in violation of Section 8(b) (4) (A) of the National Labor Relations Act, 29 U.S.C. Section 158(b) (4) (A), prior to the 1959 amendments, 73 Stat. 542, had induced and encouraged the employees of Texaco, Inc. to engage in a work stoppage, with an object of forcing Texaco to cease doing business with the Dictaphone Corporation. The only substantial question before us is whether our ruling in the Royal Typewriter case, N.L.R.B. v. Business Mach. and Office Appliance Mechanics Conference Board, Local 459, 2 Cir., 1955, 228 F.2d 553, is controlling. We think it is.
    
    
      2
      On January 15, 1959 the employees of the Dictaphone Corporation went on strike and established a picket line at Dictaphone's offices at 45th Street and Third Avenue in New York City. Texaco was one of Dictaphone's customers and it occupied 17 floors in the Chrysler Building in New York City. On January 22, 1959, shortly after a Texaco office boy crossed the picket line and delivered a dictating machine to Dictaphone for repairs, the Union began picketing Texaco at entrances to the Chrysler Building, carrying signs practically identical with those used in the Royal Typewriter case, except for the names of those concerned. The office boy returned to Dictaphone the next day and picked up the machine that had been repaired. As he left the Dictaphone premises, the Union's shop chairman asked for the name of his employer. Receiving no reply the shop chairman walked alongside the office boy, and, as they passed a large plate glass window, threatened to push the office boy's head through the window. He also said he would follow the office boy wherever he went in order to set up a picket line at his employer's business. The picketing of Texaco at the Chrysler Building had commenced the previous day and continued for some time around the lunch hour and quitting time of Texaco employees. There was no proof that the Texaco employees paid any attention whatever to the picketing. On these facts the Board found there was an unlawful inducement and encouragement to Texaco employees to engage in a strike or a concerted refusal to work in violation of Section 8(b) (4) (A).
    
    
      3
      We are unable to perceive any significant feature of this case to distinguish it from the facts before us in the Royal Typewriter case and we reaffirm our holding in that case.
    
    
      4
      Enforcement denied.
    
    